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4
     Counsel for Mr. Damian Peterson
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7
8                         IN THE UNITED STATES DISTRICT COURT
9                            EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       ) Case No. 2:12-cr-00169-MCE
                                     )
12                  Plaintiff,       ) STIPULATION AND
                                     ) ORDER MODIFYING CONDITIONS OF
13        v.                         ) PRETRIAL RELEASE
                                     )
14   DAMIAN PETERSON,                )
                                     )
15                  Defendant.       )
                                     )
16   _______________________________ )
17
18          It is hereby stipulated and agreed by and between the parties
19   hereto, through their respective counsel, that the conditions of
20   pretrial release imposed on defendant Damian Peterson on April 25,
21   2012, by The Honorable Gregory G. Hollows, United States Magistrate
22   Judge, shall be modified to include the following additional condition
23   as requested by his Pretrial Services Officer, Ms. Taifa Gaskins:
24               The defendant shall participate in a cognitive
                 behavioral treatment program as directed by the
25               Pretrial Services Officer. Such program may include
                 group sessions led by a counselor or participation in
26
27   ////
28   ////
             Case 2:12-cr-00169-TLN Document 77 Filed 06/14/12 Page 2 of 2


1                 a program      administered   by   the   Pretrial   Services
                  officer.
2
3                 Dated: June 13, 2012
                                                      /s/ Robert M. Holley
4
                                                      Robert M. Holley
5                                                     Counsel for Damian Peterson
6
                  Dated: June 13, 2012
7                                                     /s/ Jason Hitt (by RMH)
8                                                     Jason Hitt
                                                      Assistant United States Attorney
9
10
11
                                            ORDER
12
13                On the stipulation of all parties and good cause appearing, IT
14   IS SO ORDERED.
15   DATED: June 13, 2012.
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